                          Case 17-50472-hlb                Doc 1       Entered 04/18/17 16:35:04                   Page 1 of 21


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1401 S. VIRGINIA ST
                                  SUITE 100                                                       PO BOX 7296
                                  RENO, NV 89502                                                  RENO, NV 89510
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  WASHOE                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                         Case 17-50472-hlb                 Doc 1        Entered 04/18/17 16:35:04                      Page 4 of 21
Debtor    BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 18, 2017
                                                  MM / DD / YYYY


                             X /s/ BRANDON KYLE FERGUSON                                                  BRANDON KYLE FERGUSON
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   PRESIDENT/ CEO




18. Signature of attorney    X /s/ STEPHEN R. HARRIS                                                       Date April 18, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 STEPHEN R. HARRIS
                                 Printed name

                                 HARRIS LAW PRACTICE LLC
                                 Firm name

                                 6151 LAKESIDE DRIVE
                                 SUITE 2100
                                 RENO, NV 89511
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     775-786-7600                  Email address      steve@harrislawreno.com

                                 001463
                                 Bar number and State




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Debtor     BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS                                       Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                   Chapter     11
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     BOONFI LLC                                                              Relationship to you               SUBSIDIARY
District   NEVADA                                     When     4/18/17             Case number, if known
Debtor     BRISTLECONE LENDING, LLC                                                Relationship to you               SUBSIDIARY
District   NEVADA                                     When     4/18/17             Case number, if known
Debtor     BRISTLECONE SPV I, LLC                                                  Relationship to you               SUBSIDIARY
District   NEVADA                                     When     4/18/17             Case number, if known
Debtor     I DO LENDING, LLC                                                       Relationship to you               SUBSIDIARY
District   NEVADA                                     When     4/18/17             Case number, if known
Debtor     MEDLY, LLC                                                              Relationship to you               SUBSIDIARY
District   NEVADA                                     When     4/18/17             Case number, if known
Debtor     ONE ROAD LENDING, LLC                                                   Relationship to you               SUBSIDIARY
District   NEVADA                                     When     4/18/17             Case number, if known
Debtor     WAGS LENDING, LLC                                                       Relationship to you               SUBSIDIARY
District   NEVADA                                     When     4/18/17             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 5
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 Fill in this information to identify the case:
 Debtor name BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AMERICAN                                                        CREDIT CARD                                                                                                $9,094.14
 EXPRESS                                                         PURCHASES
 P O BOX 981535
 El Paso, TX 79998
 ATP PARTNERS                                                    GOODS/SERVICE                                                                                              $2,638.00
 LLC
 200 S. VIRGINIA ST
 8TH FL
 RENO, NV 89501
 BRETT COLEMAN                                                   MONEY LOANED                                                                                             $42,773.85
 FAMILY TRUST
 539 RIVERSIDE DR.
 RENO, NV 89503
 CAPITAL ONE                                                     CREDIT CARD                                                                                              $26,079.13
 BANK N.A.                                                       PURCHASES
 BANKRUPTCY
 DIVISION
 P O BOX 30285
 SALT LAKE CITY,
 UT 84130-0285
 CISION US INC.                                                  GOODS/SERVICE                                                                                              $7,257.75
 1 PRUDENTIAL
 PLAZA, 7TH FLOOR
 CHICAGO, IL 60601
 EYERYS LTD.                                                     GOODS/SERVICE                                                                                              $6,843.29
 1 GLENDALE
 COURT KING
 STREET
 SINDLESHAM
 BERKSHIRE,
 ENGLAND RG41
 SPW
 FETCH, LLC                                                      MONEY LOANED                                                                                           $119,483.53
 6700 VIA AUSTI
 PKWY
 STE C
 LAS VEGAS, NV
 89119

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 FIVE9                                                           GOODS/SERVICE                                                                                              $3,625.54
 4000 EXECUTIVE
 PKWY, STE 400
 SAN RAMON, CA
 94583
 HOLLAND & HART                                                  GOODS/SERVICE                                                                                              $6,494.00
 PO BOX 8749
 DENVER, CO 80201
 HOLLEY DRIGGS                                                   GOODS/SERVICE                                                                                            $15,000.00
 WALCH, ET AL.
 ATTN: ACCOUNTS
 RECEIVABLE
 400 S. FOURTH ST.,
 3RD FL
 LAS VEGAS, NV
 89101
 INTACCT                                                         GOODS/SERVICE                                                                                              $4,830.00
 CORPORATION
 DEPT 3237
 PO BOX 123237
 DALLAS, TX 75312
 IPFS                                                            GOODS/SERVICE                                                                                              $5,445.38
 CORPORATION
 24722 NETWORK
 PLACE
 CHICAGO, IL 60673
 LEXISNEXIS RISK                                                 GOODS/SERVICE                                                                                            $28,037.45
 SOLUTION BUREAU
 28330 NETWORK
 PLACE
 CHICAGO, IL 60673
 METROPOLITAN                                                    GOODS/SERVICE                                                                                              $7,500.00
 EQUITY PARTNERS
 MANAGEMENT
 70 EAST 55TH
 STREET
 19TH FL
 NEW YORK, NY
 10022
 PAUL HASTINGS,                                                  GOODS/SERVICE                                                                                              $5,076.90
 LLP
 LOCKBOX 4803
 PO BOX 894803
 LOS ANGELES, CA
 90189
 RACKSPACE                                                       GOODS/SERVICE                                                                                              $4,626.30
 PO BOX 730759
 DALLAS, TX 75373




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 RAYMOND &                                                       MONEY LOANED                                                                                               $5,000.00
 DEEDRA
 FERGUSON
 310 WEST
 WILLIAMS AVENUE
 FALLON, NV 89406
 TANNER LLC                                                      GOODS/SERVICE                                                                                            $50,847.00
 36 SOUTH STATE
 STREET, STE 600
 SALT LAKE CITY,
 UT 84111
 WARREN J                                                        GOODS/SERVICE                                                                                              $3,000.00
 THOMPSON
 825 VALLEYWOOD
 DR. SE
 SALEM, OR 97306
 WORLDWIDE                                                       GOODS/SERVICE                                                                                              $5,352.26
 EXPRESS
 5000 MEADOWS
 ROAD, STE 440
 LAKE OSWEGO, OR
 97035




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re       BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS                                                       Case No.
                                                                                    Debtor(s)                 Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 ACTUAL
                                                                                                                         FEES/COSTS
             Prior to the filing of this statement I have received                                        $                 13,717.00
             Balance Due                                                                                  $               UNKNOWN

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 18, 2017                                                                 /s/ STEPHEN R. HARRIS
     Date                                                                           STEPHEN R. HARRIS
                                                                                    Signature of Attorney
                                                                                    HARRIS LAW PRACTICE LLC
                                                                                    6151 LAKESIDE DRIVE
                                                                                    SUITE 2100
                                                                                    RENO, NV 89511
                                                                                    775-786-7600 Fax: 775-786-7764
                                                                                    steve@harrislawreno.com
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS                                                      Case No.
                                                                                    Debtor(s)               Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                              Security Class Number of Securities              Kind of Interest
 business of holder
 ALETHIA HOLDINGS, LLC                                                FOUNDER         865,000                          STOCK
 255 N. SIERRA STREET
 SUITE 608
 RENO, NV 89501

 AMENDED AND RESTATED CEBULKO                                         PREFERRED       6,557                            STOCK
 FAMILY TRUST
 113 QUAIL RUN ROAD
 HENDERSON, NV 89014

 BLUE WATER HOLDINGS, LTD                                             PREFERRED       3,279                            STOCK
 1765 DAKOTA RIDGE TRAIL
 RENO, NV 89523

 DRACO VENTURES, LLC                                                  FOUNDER         170,000                          STOCK
 1195 BELFORD DRIVE
 RENO, NV 89509

 FERGUSON, RAYMOND & DEEDRA                                           PREFERRED       32,787                           STOCK
 310 WEST WILLIAMS AVE.
 FALLON, NV 89406

 FETCH, LLC                                                           FOUNDER/PRE 284,267                              STOCK
 222 VIA MARNELL WAY                                                  FERRED/WAR
 LAS VEGAS, NV 89119                                                  RANTS

 G. BLAKE & RUTH F. SMITH FAMILY TRUST                                PREFERRED       6,557                            STOCK
 ONE EAST LIBERT STREET
 SUITE 444
 RENO, NV 89501

 GARDNER FAMILY TRUST                                                 PREFERRED       6,557                            STOCK
 9028 PARK FOREST COURT
 LAS VEGAS, NV 89134

 S & B 2028, LLC                                                      PREFERRED       6,557                            STOCK
 11500 S. EASTERN AVE.
 SUITE 210
 HENDERSON, NV 89052-5576

 SENAHILL INVESTMENT GROUP, LLC                                       FOUNDER/PRE 281,967                              STOCK
 115 BROADWAY                                                         FERRED
 SUITE 301
 NEW YORK, NY 10006




Sheet 1 of 2 in List of Equity Security Holders
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 In re:    BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS                                                    Case No.
                                                                                      Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                             (Continuation Sheet)

 Name and last known address or place of                              Security Class Number of Securities                       Kind of Interest
 business of holder

 STUART R. ENGS, JR AND JANE N. ENGS                                  PREFERRED        6,557                                    STOCK
 FAMILY TRUST
 5 WILD RIDGE COURT
 LAS VEGAS, NV 89135

 SWSD, LLC                                                            PREFERRED        32,787                                   STOCK
 2300 W. SAHARA AVE.
 SUITE 110
 LAS VEGAS, NV 89102-4354

 THE BRETT COLEMAN FAMILY TRUST                                       FOUNDER/PRE 46,667                                        STOCK
 539 RIVERSIDE DRIVE                                                  FERRED/WAR
 RENO, NV 89503                                                       RANTS

 TIMOTHY CASHMAN & DENISE CASHMAN                                     PREFERRED        6,557                                    STOCK
 FAMILY TRUST
 2300 W. SAHARA AVE.
 SUITE 1110
 LAS VEGAS, NV 89102-4354


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the PRESIDENT/ CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date April 18, 2017                                                             Signature /s/ BRANDON KYLE FERGUSON
                                                                                            BRANDON KYLE FERGUSON

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 2 total page(s)
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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS                                                Case No.
                                                                                    Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the PRESIDENT/ CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       April 18, 2017                                              /s/ BRANDON KYLE FERGUSON
                                                                         BRANDON KYLE FERGUSON/PRESIDENT/ CEO
                                                                         Signer/Title




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                  BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS
                  PO BOX 7296
                  RENO, NV 89510

                  STEPHEN R. HARRIS
                  HARRIS LAW PRACTICE LLC
                  6151 LAKESIDE DRIVE
                  SUITE 2100
                  RENO, NV 89511

                  INTERNAL REVENUE SERVICE
                  P O BOX 7346
                  PHILADELPHIA, PA 19101-7346

                  NEVADA DEPARTMENT OF MOTOR VEHICLES
                  LEGAL DIVISION
                  855 WRIGHT WAY
                  CARSON CITY, NV 89711

                  NEVADA DEPARTMENT OF TAXATION
                  BANKRUPTCY SECTION
                  555 E. WASHINGTON
                  STE 1300
                  LAS VEGAS, NV 89101

                  NEVADA LABOR COMMISSION
                  1818 E. COLLEGE DRIVE
                  #102
                  CARSON CITY, NV 89706

                  OFFICE OF THE UNITED STATES TRUSTEE
                  300 BOOTH STREET ROOM 3009
                  RENO, NV 89509

                  ALETHIA HOLDINGS, LLC
                  255 N. SIERRA STREET
                  SUITE 608
                  RENO, NV 89501

                  ALICIA GARCIA
                  C/O HENRY WOLFE, ESQ.
                  THE WOLF LAW FIRM, LLC
                  1520 US HIGHWAY 130- STE 101
                  NORTH BRUNSWICK, NJ 08902

                  AMENDED AND RESTATED CEBULKO
                  FAMILY TRUST
                  113 QUAIL RUN ROAD
                  HENDERSON, NV 89014

                  AMERICAN EXPRESS
                  P O BOX 981535
                  EL PASO, TX 79998
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              APPLIED STAFFING SOLUTIONS LLC
              890 E. PATRIOT BLVD, STE E
              RENO, NV 89511

              ATP PARTNERS LLC
              200 S. VIRGINIA ST
              8TH FL
              RENO, NV 89501

              AVALARA INC.
              DEPT 16781
              PALATINE, IL 60055

              BELATRIX SOFTWARE, INC.
              444 BRICKELL AVE, STE 54-473
              MIAMI, FL 33131

              BLUE WATER HOLDINGS, LTD
              1765 DAKOTA RIDGE TRAIL
              RENO, NV 89523

              BRETT COLEMAN FAMILY TRUST
              539 RIVERSIDE DR.
              RENO, NV 89503

              BRIAN G. DAVIS
              C/O MARK SMALLHOUSE, ESQ.
              10775 DOUBLE R. BLVD., STE 106
              RENO, NV 89521

              CAPITAL ONE BANK N.A.
              BANKRUPTCY DIVISION
              P O BOX 30285
              SALT LAKE CITY, UT 84130-0285

              CISION US INC.
              Acct No x-xx9639
              1 PRUDENTIAL PLAZA, 7TH FLOOR
              CHICAGO, IL 60601

              DRACO VENTURES, LLC
              1195 BELFORD DRIVE
              RENO, NV 89509

              ERNEST PACKING SOLUTIONS
              360 LILLARD DRIVE
              SPARKS, NV 89434

              EYERYS LTD.
              1 GLENDALE COURT KING STREET
              SINDLESHAM BERKSHIRE, ENGLAND RG41 SPW

              FERGUSON, RAYMOND & DEEDRA
              310 WEST WILLIAMS AVE.
              FALLON, NV 89406
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              FETCH, LLC
              6700 VIA AUSTI PKWY
              STE C
              LAS VEGAS, NV 89119

              FETCH, LLC
              222 VIA MARNELL WAY
              LAS VEGAS, NV 89119

              FIVE9
              4000 EXECUTIVE PKWY, STE 400
              SAN RAMON, CA 94583

              G. BLAKE & RUTH F. SMITH FAMILY TRUST
              ONE EAST LIBERT STREET
              SUITE 444
              RENO, NV 89501

              GARDNER FAMILY TRUST
              9028 PARK FOREST COURT
              LAS VEGAS, NV 89134

              GBS 1401 S. VIRGINIA ST., LLC
              ATTN: BLAKE SMITH
              1 EAST LIBERTY STREET
              SUITE 444
              RENO, NV 89501

              HOLLAND & HART
              PO BOX 8749
              DENVER, CO 80201

              HOLLEY DRIGGS WALCH, ET AL.
              ATTN: ACCOUNTS RECEIVABLE
              400 S. FOURTH ST., 3RD FL
              LAS VEGAS, NV 89101

              INFLUENCE AND CO
              2005 W. BROADWAY, BUILDING A
              STE 210
              COLUMBIA, MO 65203

              INTACCT CORPORATION
              DEPT 3237
              PO BOX 123237
              DALLAS, TX 75312

              IOWA CONSUMER CREDIT ADMINISTRATION FUND
              ATTN: NOTIFICATION AND FEES ADMIN
              1305 E. WALNUT STREET
              DES MOINES, IA 50319

              IPFS CORPORATION
              24722 NETWORK PLACE
              CHICAGO, IL 60673
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              LEXISNEXIS RISK SOLUTION BUREAU
              28330 NETWORK PLACE
              CHICAGO, IL 60673

              METROPOLITAN EQUITY PARTNERS MANAGEMENT
              70 EAST 55TH STREET
              19TH FL
              NEW YORK, NY 10022

              MICHAEL D. HOY, ESQ.
              50 W. LIBERTY, ST.
              STE 840
              RENO, NV 89501

              MICHAEL PAGNI, ESQ.
              MCDONALD CARANO WILSON, LLC
              PO BOX 2670
              RENO, NV 89505

              MONTEREY FINANCIAL SERVICES, INC.
              PROFIT SHARING PLAN AND TRUST
              4095 AVENIDA DE LA PLATA
              OCEANSIDE, CA 92056

              NEXHILL FINANCING, LLC
              C/O MARK SMALLHOUSE, ESQ.
              10775 DOUBLE R BLVD., STE 106
              RENO, NV 89521

              NEXTEP FUNDING, LLC
              C/O MARK SMALLHOUSE, ESQ.
              10775 DOUBLE R BLVD., STE 106
              RENO, NV 89521

              PAUL HASTINGS, LLP
              LOCKBOX 4803
              PO BOX 894803
              LOS ANGELES, CA 90189

              PULIZ RECORD MANAGEMENT
              1095 STANDARD ST
              RENO, NV 89506

              RACKSPACE
              PO BOX 730759
              DALLAS, TX 75373

              RAYMOND & DEEDRA FERGUSON
              310 WEST WILLIAMS AVENUE
              FALLON, NV 89406

              S & B 2028, LLC
              11500 S. EASTERN AVE.
              SUITE 210
              HENDERSON, NV 89052-5576
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              S.C. DEPT OF CONSUMER AFFAIRS
              LEGAL DIVISION- REGISTERED CREDITORS
              PO BOX 5246
              COLUMBIA, SC 29250

              SAMUEL L. PAUL
              C/O MARK SMALLHOUSE, ESQ.
              10775 DOUBLE R BLVD
              RENO, NV 89521

              SENAHILL INVESTMENT GROUP, LLC
              115 BROADWAY
              SUITE 301
              NEW YORK, NY 10006

              STUART R. ENGS, JR AND JANE N. ENGS
              FAMILY TRUST
              5 WILD RIDGE COURT
              LAS VEGAS, NV 89135

              SWSD, LLC
              2300 W. SAHARA AVE.
              SUITE 110
              LAS VEGAS, NV 89102-4354

              TANNER LLC
              36 SOUTH STATE STREET, STE 600
              SALT LAKE CITY, UT 84111

              THE BRETT COLEMAN FAMILY TRUST
              539 RIVERSIDE DRIVE
              RENO, NV 89503

              TIMOTHY CASHMAN & DENISE CASHMAN
              FAMILY TRUST
              2300 W. SAHARA AVE.
              SUITE 1110
              LAS VEGAS, NV 89102-4354

              TODD COPENHAVER, ARCHITECT PC
              1340 NIXON AVE.
              RENO, NV 89509

              TREASURER, STATE OF MAINE
              BUREAU OF CONSUMER CREDIT PROTECTION
              #35 STATE HOUSE STATION
              AUGUSTA, ME 04333

              WARREN J THOMPSON
              825 VALLEYWOOD DR. SE
              SALEM, OR 97306
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              WESTMINSTER NATIONAL CAPITAL CO.
              C/O JACK COOK
              PRINCETON ALTERNATIVE FUNDING
              100 CANAL POINTE BLVD., STE 208
              PRINCETON, NJ 08540

              WORLDWIDE EXPRESS
              5000 MEADOWS ROAD, STE 440
              LAKE OSWEGO, OR 97035
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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS                                                  Case No.
                                                                                    Debtor(s)           Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:
 ALETHIA HOLDINGS, LLC
 255 N. SIERRA STREET
 SUITE 608
 RENO, NV 89501
 FETCH, LLC
 222 VIA MARNELL WAY
 LAS VEGAS, NV 89119
 SENAHILL INVESTMENT GROUP, LLC
 115 BROADWAY
 SUITE 301
 NEW YORK, NY 10006




    None [Check if applicable]




 April 18, 2017                                                         /s/ STEPHEN R. HARRIS
 Date                                                                   STEPHEN R. HARRIS
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS
                                                                        HARRIS LAW PRACTICE LLC
                                                                        6151 LAKESIDE DRIVE
                                                                        SUITE 2100
                                                                        RENO, NV 89511
                                                                        775-786-7600 Fax:775-786-7764
                                                                        steve@harrislawreno.com




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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS                                                  Case No.
                                                                                    Debtor(s)           Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
            I, BRANDON KYLE FERGUSON, declare under penalty of perjury that I am the PRESIDENT/ CEO of
BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS, and that the following is a true and correct copy of the
resolutions adopted by the Board of Directors of said corporation at a special meeting duly called and held on
the 13TH day of APRIL, 20 17 .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that BRANDON KYLE FERGUSON, PRESIDENT/CEO of this Corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that BRANDON KYLE FERGUSON, PRESIDENT/CEO of this Corporation is authorized
and directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and
perform all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in
connection with such bankruptcy case, and

        Be It Further Resolved, that BRANDON KYLE FERGUSON, CEO of this Corporation is authorized and
directed to employ STEPHEN R. HARRIS, attorney and the law firm of HARRIS LAW PRACTICE LLC to represent the
corporation in such bankruptcy case."

 Date      April 13, 2017                                                         Signed /s/ Brandon Kyle Ferguson
                                                                                           BRANDON KYLE FERGUSON




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                      BRISTLECONE, INC. DBA BRISTLECONE HOLDINGS




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that BRANDON KYLE FERGUSON, PRESIDENT/CEO of this Corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that BRANDON KYLE FERGUSON, PRESIDENT/CEO of this Corporation is
authorized and directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise
do and perform all acts and deeds and to execute and deliver all necessary documents on behalf of the
corporation in connection with such bankruptcy case, and

       Be It Further Resolved, that BRANDON KYLE FERGUSON, PRESIDENT/CEO of this Corporation is authorized
and directed to employ STEPHEN R. HARRIS, attorney and the law firm of HARRIS LAW PRACTICE LLC to represent
the corporation in such bankruptcy case.

 Date      April 13, 2017                                                        Signed    /s/ Brandon Kyle Ferguson



 Date      April 13, 2017                                                        Signed




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